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                            RESUMÉ – LOWELL P. MCKELVEY
PERSONAL
          Born 1971, Ann Arbor, Michigan
EDUCATION
          Southwestern University, Georgetown, Texas, 1994, B.A.
          University of Montana School of Law, Montana, 1999, J.D.
COURT ADMISSIONS
          Oregon State Bar, 1999
          U.S. District Court, District of Oregon, 2003
          Washington State Bar, 2005
          U.S. District Court, District of Eastern Washington, 2013
MEMBERSHIPS
          Oregon Association of Defense Counsel (past)
          Washington Defense Trial Lawyers (past)
          Multnomah County Bar Association
          Oregon Trial Lawyers Association (co-chair, Motor Vehicles Section, 2019 – 2021)
LEGAL PRACTICE
          McKelvey Law LLC; owner, 2023 – present – personal injury, motor vehicle accidents,
          products liability, nursing home neglect and abuse – plaintiff side
          UM/UIM panel arbitrator 2019 – present – panelist, usually neutral (presiding)
          McKelvey Kozuma PC; founding shareholder, 2014 – 2023 – personal injury,
          construction defect, insurance coverage, real estate – mix of plaintiff/defense
          Mitchell, Lang & Smith, LLP; associate 2003, partner 2008, managing Partner 2010 -
          2014 – personal injury, construction defect, insurance coverage – exclusively defense
          Deputy District Attorney, Washington and Multnomah County District Attorneys’
          Offices – 1999 - 2003 – criminal prosecutor
HONORS
          Super Lawyers Rising Stars 2011, Construction Litigation
          Super Lawyers 2021 – 2024, Personal Injury
